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 1                                                                       FILE D
 2                                                                        gjj .: gglj
 3
                                                                    CLERK U S DISTRICT couq:
 4                                                                     DldV 1iTOFNEVADA
                                                               sv           --          x pjjw
 5                            UNITED STATES DISTRICT COURT
 6                                    DISTR ICT O F N EV AD A

 7 UNITED STATES0FAMERICA,                            )
                                                      )
 8                       plaintiff,                   )
                                                      )
 9         v.                                         )         2:10-CR-474KJD IPAQ
                                                      )
10 JACOB CARL TILP,                                   )
                                                      )
11                       Defendant.                   )
                                                      )
12                        PRELIM INARY ORDER OF FORFEITURE

13         'rhisCourtfindsthaton Jlme 7,201lsdefendantJACOB CARL TILP pledguiltyto Count
14 OneofaTwo-countCriminalIndictmentcharginghim in CountOnewith Felon in Possession of

15 A Firearm,inviolationofTitle18,UnitedStatesCode,Sections922(g)(1).
16         ThisCourtt'
                     indsdefqndantJACOB CARL R'
                                              ILP agreed totheforfeitm tofthepropertyset
17 forth intheForfeitureAllegation oftheCrim inallndictmentmzd inthePleaM em orandum . D ocket
18 # 1.

19         ThisCourtfinds,pursuanttoFed.R.Crim.P.32.2(b)(1)and(2),thattheUnited Statesof
20 Americahasshown therequisitenexusbetweenpropertysetforth intheFodkitureA llegationofthe
2l CriminalIndictmentand theoffenseto which defendantJACOB CARL TILP haspled guilty.

22         Thefollowing assetsare subjectto forfeiturepursuantto Title 18,United StatesCode,
23 Section924(d)(1)andTitle28,UnitedStatesCode,Section2461(c):
24         a)     aSlm Devil,AR-15,5.56calibersemi-automaticriflesserialnumber4834;
                                       '

                  aRemington, 870 M agnu'm Expre!s's,,!121gaugepum paction shotgun,serialnumber
                                      '    ..
                                            ..
25         b)                                             .




26                (277374051;
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     1          c)     aHenryRepeatingArms,.22caliberlevelactionrifle,serialnumber40844311;
.
     2          d)     aRugersmodel10/22,.22caliber,semi-automaticrifle,serialnumber249-21420;
     3                 and,

     4          e)     anyandal1arnmunition.
     5          ThisCourtfindsthe United StatesofAm erica isnow entitled to,and should,reduçe the
     6 aforem entioned propertytotheposségïlbn oftheUnited StatesofAmerica.
                                                            i
     7          NOW THEREFORE,ITISHZV BY ORDE1+, D,ADJUDGED,ANDDECREEDO ttIX
     8 United StatesofAmerica should seize theaforem entioned property.

     9         IT IS FURTHER ORDERED,ADJUDGED,AND DECREED allright,title,andinterestof
    10 JACOB CARL TILP in theaforementioned property isforfehedand isvested intheUnhed States
    11 ofAmericaand shallbesafelyheldbytheUnited StatesofAmericatmtilfurtherorderoftheCourt.
    12         IT ISFURTHER ORDERED,ADJUDGED,AND DECREED theUnitedStatesofAmerica

    13 shallpublishforatleastthirty(30)consecutivedaysontheoflicialinternetgovernmentforfeiture
    14 website,wwm forfeiture.gov,noticeofthisOrder,which shalldescribetheforfeited property, state
    15 thetim eundertheapplicablestatutewhen apetition contestingtheforfeittlrem ustbetiled, and state
    16 the name and contact information for the governm entattorney to be served with the petition,
                                           .   i4.
                                                 k'
                                                  ;!.
    17 ptlrsumzttoFed.R.Crim.P.32.2(b)(6)andTitle'zl,United StatesCode,Section853(n)(2).
    18         IT IS FURTHER ORDERED,ADJUDGED,AND DECREED a petition, ifany,mustbe
    19 filed with the Clerk oftheCourt,333LasVeg% Boulevard South, LasVegas,Nevada 89101.
    20         IT IS FURTHER ORDERED,A DJUDGED,AND DECREED acopyofthepetition, ifany,

    21 shallbe servtd upon the AssetForfeitm e Attonwy ofthe United SlatesAttonwy's Oftk e atthe
    22 following addressatthetime offiling:
    23                M ichaelA .Humphreys
                      AssistantUnited SutesAttom ey
    24                DanielD.Hollingsworth
                      AssistantUnited StatesAttorney
    25                Lloyd D.GeorgeUnited StatesCourthouse
                      333 LasVegasBoulevard South,Suite 5000
    26                LasVegas,Nevada 89101.

                                                                                                     i
                                                                      L                              i
'




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    .                                         ê
                                              '            T   .




         1         IT IS FURTHER ORDERED,ADJUDGED,AND DECREED thenoticedescribed lxrein
         2 need notbepublished in theeventaDeclaration ofForfeiture isissued by theappropriate agency
         3 following publicationofnoticeofseizuremzdintenttoadministratively forfeittheabove-described
         4 property.                                                                                     '
         5         DATED this 7* day of                            ,20l1.
         6
         7

         8
                                                     UNITED STATES DISTRICT JUDGE
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